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FoR THE WESTERN DISTRICT oF TENNESSEE

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Plaintiff,
vs. Case No. 02cr20484-B
RoDNEY DAvls

Defendant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.

lt now appears that the defendant has complied With the requirements of said bond and orders of

this Court.
I'l` IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $200.00,

payable to Taliesha McCully at 2790 Metrie Dr., Apt. #7, Memphis, TN 38114 in full refund of the

M

J. AN[EL BREEN
U ted States District Judge\

cash appearance bond posted herein.

Approved.
Thomas M. Gould Clerk of Court

BY ZMWQ¢W

 

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UNITED `SETATDSTIRIC COUR - WESTERN D'S'TRCT oFTENNESSEE

   
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 148 in
case 2:02-CR-20484 Was distributed by faX, mail, or direct printing on
July 14, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

